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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


       UNITED STATES, et al.,

                                        Plaintiffs,

              vs.                                               No. 1:23-cv-00108-LMB-JFA

       GOOGLE LLC,

                                        Defendant.



                               GOOGLE LLC’S NOTICE OF FILING

             Defendant Google LLC (“Google”) files the attached UNREDACTED VERSION of

      its reply brief in support of its motion to exclude expert testimony from Robin Lee, as ordered

      by the Court (Docket no. 1071).
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      Dated: Aug. 6, 2024.                 Respectfully submitted,

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